Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 1 of 11 Page ID #:795




   1 KELLY M. KLAUS (CA Bar No. 161091)
     kelly.klaus@mto.com
   2 ELIZABETH A. KIM (CA Bar No. 295277)
     elizabeth.kim@mto.com
   3 MUNGER, TOLLES & OLSON LLP
     350 South Grand Avenue, Fiftieth Floor
   4 Los Angeles, California 90071-3426
     Telephone: (213) 683-9100
   5 Facsimile: (213) 687-3702
   6 MICHAEL B. DESANCTIS (admitted pro hac vice)
     michael.desanctis@mto.com
   7 MUNGER, TOLLES & OLSON LLP
     1155 F Street N.W., Seventh Floor
   8 Washington, D.C. 20004-1357
     Telephone: (202) 220-1100
   9 Facsimile: (202) 220-2300
  10 KAREN R. THORLAND (CA Bar No. 172092)
     karen_thorland@mpaa.org
  11 MOTION PICTURE ASSOCIATION OF AMERICA, INC.
     15301 Ventura Blvd., Building E
  12 Sherman Oaks, California 91403
     Telephone: (818) 935-5812
  13
     Attorneys for Plaintiffs
  14
  15                         UNITED STATES DISTRICT COURT
  16           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 Universal City Studios Productions            Case No. 2:17-cv-07496-MWF(AS)
     LLLP; Columbia Pictures Industries,
  19 Inc.; Disney Enterprises, Inc.;               PLAINTIFFS’ REPLY IN SUPPORT
     Twentieth Century Fox Film                    OF MOTION FOR LEAVE TO FILE
  20 Corporation; Paramount Pictures               FIRST AMENDED COMPLAINT
     Corporation; Warner Bros.                     AND TO EXTEND DISCOVERY
  21 Entertainment Inc., Amazon Content            CUTOFF
     Services, LLC; Netflix Studios, LLC,
  22                                               Date: July 9, 2018
                  Plaintiffs,                      Time: 10:00 a.m.
  23
            vs.                                    Ctrm: 5A (Hon. Michael W. Fitzgerald)
  24
     Tickbox TV LLC,                               Filed concurrently:
  25                                                 Reply Declaration of Kelly M. Klaus
                  Defendant.
  26
  27
  28
                                                                          2:17-cv-07496-MWF(AS)
       PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
       CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 2 of 11 Page ID #:796




   1                                            TABLE OF CONTENTS
   2                                                                                                                    Page
   3 MEMORANDUM OF POINTS AND AUTHORITIES............................................. 1
   4 INTRODUCTION ....................................................................................................... 1
   5 ARGUMENT ............................................................................................................... 1
   6            A.       Plaintiffs Have Demonstrated Good Cause to Modify the
                         Scheduling Order .................................................................................... 1
   7
                B.       Leave to Amend Should Be Granted Under Rule 15.............................. 4
   8
                C.       The Discovery Cut-Off Should Be Modestly Extended ......................... 5
   9
       CONCLUSION............................................................................................................ 7
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                   -i-                    2:17-cv-07496-MWF(AS)
       PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
       CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 3 of 11 Page ID #:797




   1                                             TABLE OF AUTHORITIES
   2                                                                                                                        Page(s)
   3 FEDERAL CASES
   4 Cole v. CRST, Inc.,
   5   317 F.R.D. 141 (C.D. Cal. 2016)............................................................................ 4

   6 DCD Programs, Ltd. v. Leighton,
        833 F.2d 183 (9th Cir. 1987) .................................................................................. 4
   7
   8 Jackson v. Laureate, Inc.,
        186 F.R.D. 605 (E.D. Cal. 1999) ............................................................................ 2
   9
     Johnson v. Buckley,
  10
        356 F.3d 1067 (9th Cir. 2004) ................................................................................ 4
  11
     Johnson v. Mammoth Recreations, Inc.,
  12    975 F.2d 604 (9th Cir. 1992) .......................................................................... 1, 3, 4
  13
     Miller v. Safeco Title Ins.,
  14    758 F.2d 364 (9th Cir. 1985) .................................................................................. 1
  15 FEDERAL RULES OF CIVIL PROCEDURE
  16
     Rule 15 ......................................................................................................................... 4
  17
     Rule 16 ..................................................................................................................... 1, 2
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                   -ii-                    2:17-cv-07496-MWF(AS)
        PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
        CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 4 of 11 Page ID #:798




   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2                                    INTRODUCTION
   3         TickBox’s Opposition misrepresents the pre-motion communications between
   4 counsel in a vain attempt to sidestep the plain need for a modest modification of the
   5 Court’s scheduling order, which is necessary to ensure: (1) that Plaintiffs may
   6 efficiently bring their claims against TickBox’s owners and operators, Jeffrey and
   7 Carrla Goldstein, as part of this lawsuit, rather than having to file a duplicative
   8 lawsuit; or (2) at a minimum, that Plaintiffs have the ability to complete discovery
   9 beyond a cut-off date that has now passed.
  10         Plaintiffs have diligently litigated this action and have demonstrated good
  11 cause to modify the Court’s scheduling order. Plaintiffs have demonstrated, and
  12 TickBox does nothing to refute, that there will be substantial prejudice to Plaintiffs’
  13 rights if this motion is denied. TickBox did not produce any documents until June
  14 14, 2018—10 days after the discovery cut-off—and Plaintiffs’ preliminary review
  15 shows there are serious questions about the adequacy of TickBox’s collection and
  16 production efforts. TickBox has not shown any prejudice from adding the
  17 Goldsteins or extending the discovery schedule. Moreover, facts illustrating that the
  18 Goldsteins served as more than mere officers of TickBox TV LLC continue to
  19 emerge, particularly after receiving TickBox’s belated production of documents.
  20 The only thing this motion will deprive TickBox of is the ability to evade a
  21 complete production of information relevant to this case. Plaintiffs respectfully
  22 request that the Court grant their motion.
  23                                      ARGUMENT
  24         A.     Plaintiffs Have Demonstrated Good Cause to Modify the
                    Scheduling Order
  25
             TickBox does not dispute that Plaintiffs satisfy Rule 15’s requirements for
  26
       granting a motion for leave to amend. Instead, TickBox asserts that Plaintiffs failed
  27
  28
                                                  -1-                     2:17-cv-07496-MWF(AS)
       PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
       CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 5 of 11 Page ID #:799




   1 to demonstrate good cause to modify the scheduling order based on a lack of
   2 diligence. TickBox is wrong.
   3         The “good cause” standard under Rule 16(b) “primarily considers the
   4 diligence of the party seeking the amendment.” Johnson v. Mammoth Recreations,
   5 Inc., 975 F.2d 604, 607, 609 (9th Cir. 1992). The Ninth Circuit, in the case on
   6 which TickBox bases its Opposition, made clear that the Court has “‘broad
   7 discretion in supervising the pretrial phase of litigation.’” Id. (quoting Miller v.
   8 Safeco Title Ins., 758 F.2d 364, 369 (9th Cir. 1985)).
   9         When the proposed modification seeks to amend the pleadings, a party shows
  10 good cause by showing (1) it “was diligent in assisting the court in creating a
  11 workable Rule 16 order; (2) that [the any failure to meet the applicable deadline]
  12 occurred or will occur, notwithstanding [the moving party’s] diligent efforts to
  13 comply, because of the development of matters which could not have been
  14 reasonably foreseen or anticipated at the time of the Rule 16 scheduling conference;
  15 and (3) that [the moving party] was diligent in seeking amendment of the Rule 16
  16 order, once it became apparent that [it] could not comply with the order.” Jackson
  17 v. Laureate, Inc., 186 F.R.D. 605, 608 (E.D. Cal. 1999) (citations omitted).
  18 Plaintiffs have shown good cause under each of these factors.
  19         First, Plaintiffs were diligent in assisting the Court in creating a workable
  20 Rule 16 order. The parties submitted their final joint Rule 26(f) report on March 21,
  21 2018 (Dkt. 48), pursuant to the Court’s March 6, 2018 scheduling notice (Dkt. 47).
  22 Plaintiffs proposed May 4, 2018, as the amendment cut-off date, but the Court
  23 issued its scheduling order on April 13, 2018—without holding a conference—and
  24 the order said no further amendments would be permitted. (Dkt. 50.)
  25         Second, Plaintiffs have diligently prosecuted this action. TickBox asserts that
  26 Plaintiffs could and should have moved to amend their complaint as soon as Jeffrey
  27 Goldstein filed his declaration on December 28, 2017. (Dkt. 34-1.) In the few
  28 months that followed, however, Plaintiffs successfully prosecuted their preliminary
                                              -2-                       2:17-cv-07496-MWF(AS)
       PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
       CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 6 of 11 Page ID #:800




   1 injunction motion (granted on January 30, 2018), negotiated a stipulated preliminary
   2 injunction order following the Court’s hearing, engaged in efforts to enforce the
   3 Court’s preliminary injunction order (necessary because of TickBox’s apparent non-
   4 compliance), and tried to settle this matter. The fact that Plaintiffs did not
   5 immediately seek leave to amend to add the Goldsteins while all this was going on
   6 does not show a lack of diligence. Moreover, Plaintiffs could not have sought leave
   7 to amend without modification of the Court’s scheduling order, as the Court’s April
   8 13, 2018 scheduling order did not set a future deadline for amendment of pleadings,
   9 but instead stated there would be “no further amendments.” Where, as here, a
  10 scheduling order “cannot reasonably be met despite the diligence of the party
  11 seeking the extension,” the court has discretion to modify the scheduling order.
  12 Johnson, 975 F.2d at 609 (citation omitted).
  13         Third, Plaintiffs acted diligently to seek modification of the Court’s
  14 scheduling order as soon as it became apparent that amendment was necessary.
  15 Plaintiffs served document requests that included the Goldsteins as relevant
  16 custodians on April 25, 2018, 11 days after the Court’s scheduling order. Klaus
  17 Decl. ¶ 2 & Ex. A. Plaintiffs contacted counsel for TickBox, one month after the
  18 Court issued its scheduling order, requesting a meet and confer regarding the filing
  19 of an amended complaint and modification of the discovery cut-off. Klaus Reply
  20 Decl. ¶ 3 & Ex. A. Following the meet and confer, Plaintiffs promptly filed the
  21 instant motion.
  22         TickBox claims that “[t]he circumstances in the present case are similar to
  23 those in Johnson,” Opp. at 4:10, but makes no effort to support this assertion.
  24 TickBox’s omission is unsurprising because the facts here do not resemble Johnson
  25 in the slightest. In Johnson, the plaintiff failed to substitute the proper defendant
  26 despite being put on explicit notice multiple times that he had named the incorrect
  27 defendant. 975 F.2d at 606-07. Three months before the amendment cut-off date,
  28 defense counsel sent plaintiff’s counsel a letter explaining that plaintiff had named
                                                -3-                        2:17-cv-07496-MWF(AS)
       PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
       CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 7 of 11 Page ID #:801




   1 the incorrect defendant and offering to stipulate to substitution of the proper
   2 defendant. Id. at 609. Plaintiff requested leave to amend four months after the
   3 amendment cut-off date. The court declined to find good cause because the plaintiff
   4 had “[f]ail[ed] to heed clear and repeated signals that not all the necessary parties
   5 had been named.” Id.
   6         Here, in contrast, Plaintiffs rely for their amendment on facts that
   7 cumulatively showed the Goldsteins should be added to this suit. Plaintiffs acted
   8 promptly to amend their complaint once it became clear that the Goldsteins were
   9 more than mere officers of TickBox. Those facts continue to emerge. TickBox
  10 made its initial production of documents on June 14, 2018—20 days after the
  11 documents were due to be produced. A preliminary review of TickBox’s June 14,
  12 2018 document production includes several emails from “Jeff” directing and
  13 controlling the content of the TickBox website and TickBox software interface.
  14 Klaus Reply Decl. ¶ 7.
  15         In sum, Plaintiffs have demonstrated good cause to modify the Court’s April
  16 13, 2018 scheduling order to allow amendment of the complaint.
  17         B.    Leave to Amend Should Be Granted Under Rule 15
  18         Because Plaintiffs have demonstrated good cause to modify the Court’s
  19 scheduling order, Rule 15 provides the relevant standard for deciding Plaintiffs’
  20 motion for leave to amend. Johnson, 975 F.2d at 608. TickBox’s Opposition does
  21 not address any of the five factors considered, much less carry its burden to show
  22 prejudice. See Cole v. CRST, Inc., 317 F.R.D. 141, 146 (C.D. Cal. 2016) (“The
  23 burden is on the party opposing amendment to show prejudice.”).
  24         Each of the five factors, “[1] bad faith, [2] undue delay, [3] prejudice to the
  25 opposing party, [4] futility of amendment, and [5] whether the plaintiff has
  26 previously amended the complaint,” counsels in favor of granting Plaintiffs leave to
  27 amend. Johnson v. Buckley, 356 F.3d 1067, 1077 (9th Cir. 2004); see Mot. at 3-5.
  28 Accordingly, Rule 15’s policy of “extreme liberality” with respect to allowing
                                             -4-                         2:17-cv-07496-MWF(AS)
       PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
       CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 8 of 11 Page ID #:802




   1 amendment weighs heavily in favor of granting Plaintiffs’ motion. See DCD
   2 Programs, Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987) (citation omitted).
   3         C.     The Discovery Cut-Off Should Be Modestly Extended
   4         Plaintiffs request a modest 60-day extension of the discovery cut-off.
   5 TickBox’s Opposition does not dispute that the current schedule threatens to
   6 severely prejudice Plaintiffs’ ability to collect relevant evidence for their liability,
   7 damages, and permanent injunctive relief cases. Nor does TickBox show that it will
   8 be prejudiced in any way if the discovery schedule is extended. TickBox instead
   9 repeats its bald assertion that Plaintiffs have not been diligent in pursuing discovery.
  10 TickBox again is wrong.
  11         As discussed supra, Plaintiffs have diligently prosecuted this action. They
  12 focused their initial efforts on securing a preliminary injunction and ensuring
  13 TickBox’s compliance with the Court’s order. The Court entered the operative
  14 scheduling order on April 13, 2018, with a fact discovery cut-off date of June 4,
  15 2018. TickBox makes much of the fact that Plaintiffs’ proposal requested the June 4
  16 date. But Plaintiffs submitted that proposal on March 21, 2018, while they were
  17 discussing settlement with TickBox, and with the expectation that the parties could
  18 discuss the dates with the Court at a scheduling conference if necessary. That
  19 conference, however, never took place, and it became apparent that Plaintiffs would
  20 have to pursue discovery in order to protect their right to recover damages.
  21         Plaintiffs served their first request for production of documents on TickBox
  22 just 11 days after the Court’s scheduling order, on April 24, 2018. Klaus Decl. Ex.
  23 A. TickBox served written objections and responses on May 25, 2018, but did not
  24 produce any documents until just over a week ago, on June 14, 2018. TickBox has
  25 provided no excuse for its delayed production. Plaintiffs are reviewing TickBox’s
  26
  27
  28
                                                  -5-                     2:17-cv-07496-MWF(AS)
       PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
       CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 9 of 11 Page ID #:803




   1 production, but it is apparent that there will be issues requiring a meet-and-confer
   2 and possibly a discovery motion.1
   3         TickBox asserts that Plaintiffs served their discovery requests too late because
   4 there would have been insufficient time to file a motion to compel before June 4,
   5 2018. By TickBox’s logic, any discovery served after March 8, 2018, would be
   6 insufficient to demonstrate diligence, as it would have been impossible to comply
   7 with the Local Rules and this Court’s scheduling order and notice a motion to
   8 compel that could be heard by June 4, 2018. 2 Plaintiffs’ request to extend the
   9 discovery cut-off by approximately 60 days would ensure that Plaintiffs have the
  10 opportunity to adequately review and, if necessary, resolve any discovery disputes
  11 with TickBox. It would also provide Plaintiffs the necessary time to engage in
  12 limited additional discovery regarding Defendants’ ability to pay any statutory
  13 damages award and the depth of the Goldsteins’ involvement in and knowledge of
  14 TickBox’s inducement of copyright infringement. It was for these reasons that
  15 counsel for Plaintiffs contacted counsel for TickBox, specifically identifying both
  16 Plaintiffs’ intention to seek leave to file an amended complaint and the need for an
  17
  18   1
         TickBox produced 662 pages in response to Plaintiffs’ 20 separate document
  19   requests. Upon preliminary review, this production includes relatively few emails
       and approximately 470 pages of computer code attached to or embedded in emails.
  20   See TTL000064-534. In short, there are serious questions about the adequacy of
  21   TickBox’s collection and production. Plaintiffs, however, cannot start the meet-
       and-confer process, much less file a motion to compel, given the current discovery
  22   cut-off date. Klaus Reply Decl. ¶¶ 5-7.
       2
  23     TickBox cites L.R. 6-1, but L.R. 37-1 to 37-3 govern discovery motions. The
  24   Local Rules provide for a minimum 21-day period before the motion may be heard,
       10 days within which to meet and confer, and 7 days within which to draft a
  25   stipulation. The Federal Rules provide 30 days within which to respond to
  26   discovery requests. Here, 50 days elapsed between service of Plaintiffs’ requests for
       production and TickBox’s actual production of documents. Even without
  27   considering the time necessary to actually review any document production, this
  28   results in an 88-day period.
                                                  -6-                     2:17-cv-07496-MWF(AS)
       PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
       CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 10 of 11 Page ID #:804




    1 extension of the discovery cut-off preceding this motion. Klaus Reply Decl. ¶ 3 &
    2 Ex. A. Counsel for TickBox, John Christy, declares that “Counsel for Plaintiffs did
    3 not advise me that he would be requesting an extension of discovery unrelated to the
    4 proposed amendment of the Complaint.” (Dkt. 52-1.) E-mail correspondence on
    5 the meet-and-confer shows that Mr. Christy’s declaration is not correct: Plaintiffs’
    6 counsel told Mr. Christy that Plaintiffs would move to amend the discovery cut-off,
    7 and Mr. Christy’s response email expressly recognized that Plaintiffs were seeking
    8 not only to add the Goldsteins but “to amend the CMO [case management order].”
    9 Klaus Decl. ¶ 3 & Ex. A.
   10         An extension of the discovery cut-off following the filing of an amended
   11 complaint would not prejudice TickBox or the Goldsteins. TickBox contends that
   12 the Goldsteins should be given an opportunity to conduct discovery if the Court
   13 grants leave to amend. This argument rings hollow. TickBox has served no
   14 discovery requests during this litigation and identifies no issues or discovery topics
   15 that would arise from the addition of the Goldsteins as defendants. Even if the
   16 Court were inclined to grant a lengthier extension (e.g., 120 days) to accommodate
   17 the Goldsteins, this case would still proceed to trial within one year of the Court’s
   18 order granting Plaintiffs’ motion for preliminary injunction.
   19                                     CONCLUSION
   20         For the foregoing reasons, the Court should grant Plaintiffs’ motion for leave
   21 to amend the complaint to add the Goldsteins as Defendants and briefly extend the
   22 case schedule to allow the parties to complete discovery.
   23
   24
   25
   26
   27
   28
                                                   -7-                     2:17-cv-07496-MWF(AS)
        PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
        CUTOFF
Case 2:17-cv-07496-MWF-AS Document 53 Filed 06/25/18 Page 11 of 11 Page ID #:805




    1 DATED: June 25, 2018                  MUNGER, TOLLES & OLSON LLP
    2
    3
    4
                                            By:         /s/ Kelly M. Klaus
    5                                                   KELLY M. KLAUS
    6
                                            Attorneys for Plaintiffs
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                   -8-                     2:17-cv-07496-MWF(AS)
        PLAINTIFFS’ REPLY I/S/O MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY
        CUTOFF
